             Case 8:04-cr-00374-JSM-AEP Document 268 Filed 01/24/07 Page 1 of 6 PageID 526
B
     A 0 245B (Rev 06/05) Sheet 1 - Judgment UI a Criminal Case


                                 UNITED STATES DISTRICT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DMSION


rl   UNITED STATES OF AMERICA                                     J U D G M E N T IN A CRIMINAL CASE

                                                                   CASE NUMBER.       8:04-cr-374-T-30TBM
                                                                   USM NUMBER:        43862-018



     CARLOS ALBERT0 MERCHAN-ROBAYO
                                                                   Defendant's Anomey: Cynthia Lakeman, cja

     THE DEFENDANT:

     X pleaded gu~ltyto count(s) ONE of the Indictment.
     - pleaded nolo contendere to count(s) which was accepted by the court.
     - was found guilty on count(s) after a plea of not guilty.


                                         NATURE OF OFFENSE                          OFFENSE ENDED

                                         Conspiracy to Import into the United       September 9, 2004                   One
                                         States Five Kilograms or More of
                                         Cocaine


             The defendant IS sentenced as provided in pages 2 through 6 of t h ~ sjudgment      The sentence is imposed pursuant 10 the
     Senrencing Retom A L ot
                           ~ 1984.

     - The defendant has been found not guilty on count(s)
     X Count@) TWO and THREE of the Indictment are dismissed on the motion of the Unlted States
     IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
     of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
L    paid
     If ordered to pay reslimlion, [he defendant must notify the court and United Stales Attorney of any material change in economic
     circumstances.


                                                                                     Date of Imposition af Sentence: January 23, 2007




                                                                                     DATE: January a 2 0 0 7
        Case 8:04-cr-00374-JSM-AEP Document 268 Filed 01/24/07 Page 2 of 6 PageID 527
A 0 245B (Rev 06/05) Shect 2 - Iniprisonment (Judgment in a Cri~l~i~ial
                                                                   Case)
Defendant:          CARLOS ALBERT0 MERCHAN-ROBAYO                                         Judgment - Page 2 of 6
Case No. :          8:04-cr-374-T-30TBM




        After coiisitlcring the advisory sente~lcingguidelines and all of' tlic factors itlcntified in Titlc IS U.S.C. $9
3553(a)(l)-(7),the court filids that the sclitunce imposctl is sufficient, but not greater t11:11i necessilrjr, to comply \\.it11 the
statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisoiis to I)c iniprisoncd for a
total tcrni of O W IIUNDRED and EIGI-IT (108) MONTHS as to Count Olie of' the I~itlictnlcnt.



-
X The court nukes the following reco~lmendationsto the Bureau of Prisons: The defendant shall be placcd at FCI Coleman
(FL), if possible.


   'The clcfendant is rcli~andedtv tlie custody of rhe United Stntcs Marshal.
- The dct'mdant shall surrender ti) the United States Marshal foc this district.

          - at - a.m./p.ln. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of senrence at the irlstitutio~designated by the Burcau of Priso~ls.

          - before 3 p.m. 011 -.
          - as nutified by the United States h,lnrshal.
          - 3s not ifid by the Probation or Pretrial Services Ol't'ice.




                                                                     RETURN

          I have executed [his judgment as follows:




          Defendanr delivered on                                                   to

                                                                                   , with a ccrtit'ied copy of' this juclgnlenr.



                                                                                           Unit.ed States hlarsllal

                                                                          By:
                                                                                           D c p t y United Srntes Marshal
        Case 8:04-cr-00374-JSM-AEP Document 268 Filed 01/24/07 Page 3 of 6 PageID 528
(1021SB (Rev. 06!05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         CARLOS ALl3EIITO MERCIHAN-ROBAYO                                                                Judg~nent- Page 3of 6
Case No. :         8:03-cr-374-T-30TBM
                                                          SUPERVISED RELEASE

           Upon release from imprisonn~cnt,the defendant shall be on supervised I-clease for- a tcrm 01' THREE (3) YE?IKS as
to C o ~ l n tOne of the Indictnlent.

        The cisrtt~lclarlrmust report to the probation office in the district to which the dcfendnnt is released within 72 hours of release
from the custody of the Buruau of Prisons.

The clefendant shall not conmit another federal, state, or local crime. The del'entlant shrill not uillawfully possess a controlled
substance. The defenclmt shall refrain from any unlawful use of a controlled substance. The dekndant shall submit to one drug- test
       15 days of release from imprisonment and at least two periodic drug tests thcreaftcr, as clctermirled by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitution it is a condition of supcr\.ised I-elense 1Ix1r the dekndmt pay in nccordancc \\:it11
          the Schedule of Pajwwnts sheet of' this judgment.

          The defendant must comply with the standard conditions that have been ;idopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
          thc dcfendunt shall nor Ica\;c the judicial district without the permission of the cous[ or probation oft'iccr;

          the defendant shall scport to the probation officer and shall submit a truthfi~land con~plctc\\ 1.1 ttcn scport   ~tliinthc first fi\.c da>< of cach
          month;

          the defendant shall answer truthfully all inquiries by the probation officer and follow ~ h cinstructions of the probation offices:

          the defendant shall support his or her dependents and meet othcr family responsibilitics;

                                                    l y a lawful occupation, unless excused by thc proba~ionofficcr for schooling, training, or othes
          the defcnd:anr shall \vorl; ~ ~ g u l a r at
          acceptable reasons;

          [he defendant shall notify the probation officer at least ten days prior to an): changc in rcsidc~iccor- c~iiploynlcnt;

          the defendant shall refrain from exccssivc use of alcohol and shall not purchase, posscss, use, distr~bute,or administ~r-
                                                                                                                                 any controllcd
          substance or any paraphernalia related to any controlled substances, except as prescribed by s physician;

          the defendant shall not frcquent places where controlled substances are illegally sold, used, distribu~ed,or administered;

          the defendant shall not associate with any persons cngagcd In criminal activity and shall not rtssoclatc \\'it11 any pel sol; con\ lctcd of 2
          fclon y. unless sranted permission to do so by the proba~ionofficer;

          the defendant shall permit a probation officer to visit him or her at any time at h o n ~ cor elscwhcrc arid s11a11 pcrniit confiscxion of any
          contraband observed in plain view of the probation officer;

          the defendant shall notify the probrition officer within seventy-hvo hours of being arrested or qi~cstionctlby a lait enforcement orl'icci-;

          thc defendant shall not enter into any a~recmcntto act as an informer or a special agunt oTa I:I\\~ cnfoscc~i~cnt
                                                                                                                         a_gencywithout the
          pcr~nissionof thc court; and

          as directed by the probation officer, thc defendant shall notify third partics ofrisks h i t m:iy be occasioned by the iicft.ndsnl's csiminal record
          or personal history or characteristics and shall permit the probation officcr to 111okesuch notific;~trons and to confirm thc defendant's
          conipliancc with such notification rcquircment.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        CARLOS ALBERT0 h4ERCHAN-ROBAYO                                                               - I%gc 4 of &
                                                                                                       Judgl~~cnt
Cast: No. :       8 :04-cr-374-T-30TBM
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions ol' supervised release:

-
X        Should the defendant be deported, hdshe shall not be allowed to re-enter he United States w ~lmutthe express permission
         of (he appropriate governmental authority.

x
-        The dcfcnclanc shall cooperate in [he collection of DNA as directed by the probation oi't'icer.

-
S        The mandatory drug testing provisions shall apply pursuant to thc Violent Crimc Control Act. I I e Courr :iuti~orizesrandom
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06105) Sheet 5 - Cri~uinalklonetary Penalties (Judgment in a Criminal Casc)

Defendant:         CARLOS ALBERT0 MERCHAN-ROBAYO                                               Judgment - Page 5 of
Case No.:          8:04-cr-374-T-30TBM

                                          CRINIINAL MONETARY PENALrTIES

         The defendant must pay the total criminal monetary penalties under rhc schedule of paylncnts on Sheet 6.
                            Assessment                           -
                                                                 Fine                          Total Restitlit ion

         TotaLs:            $100.00                              Waived                        N/A


-        The deterniination of restitution is deferred unril         .                                     t ~(tI Ct-ir~liilnlGrse ( A 0 245C) will
                                                                           An ililieilderl J r d g i ~ ~ eit1
         be entered after s~iclldeter~nina~ion.

-        The defendant must make restitution (including community restitutio~i)to [he following payees in the alnounr 1istc.d
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
         specified otherwise in the priority order or percentaoe a ment column below. However. pursuant to 18 U.S.C. 8
         3664(i). all non-federal victims must be paid before?h!&ited   Srates.


S m l e of Pawe                                Total Loss*                 Restitution Ort1c1-cd                    Prioritv or Pel-centage




-        Restitution amount ordered pursu,mt to plea agreement $
-        The defendant rnust pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(t). All of the payment options on Sheet
         6 may be sub-iect to penalties for delinquency and default, pursuant to 18 U.S.C. 8 36 12(g).

-        The court determined that the defendant does not have the ability to pay i~ltcrcstand it is ordered that:
        -          the interest requirement is waived for the - fine        - restitution.

        -          the interest requirement for the - fine - restitution is modified as follo\vs:


* Findings for the total xnount of losses are required under Chapters 109A, 1 10, 1 1OA, and 1 13A of Title 18 for the offenses
conunilted on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06105) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defe~lclant:      CARLOS A1,RERTO MERCHAN-ROBAYO                                            Judgment - Page         of 6--
Case No. :        8:01-cr-374-T-30TBM


                                                  SCHEDULE OF PAYhLEINI'S



liaving assessed the defeuclant's ability to pay, payment of the total criminal monetary penalties are due as follows:

          X       Lump sun1 payment of S 100.00 due imnediately. balance due
                            -not later than                    , or

                                    accordance                                          below; or
         -        Payment to begin i~nmediately(may be combined with -C, -D. or -F below); or
         -        Payment in equal                    (e.g., weekly, monthly, quarterly) installments of S              over a
                  period of          (e .g . , months or years), to commence              clays (e-g.. 30 or 60 days) after the
                  date of this judgment; or
         -         Payment in equal                  (e.g., weekly, monthly. quarterly) install~nentsof $               over a
                   period of
                                : (e.g . . months or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisoninent to a term of supervision; or
         -       Payment during the term of supervised release will collxner~cewithin                        (e.g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time. or
         -         Special instructions regarding the payment of crin~inalinonelary penalties




Unless the court has expressly ordered otherwise, if this judgment in~posesimprisonment. pay~nenrof criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made 111roughthe Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defenclant shall receive credit for all payments previously made toward any criminal monetary penalties imposed
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number)? Total Amount. Join1 and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shrill pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the
defendant's nominees.
Paynlents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restilution interest, (4) fine principal.
( 5 ) fine inrercsr, (6) community restitution, (7) penalties, xnd (8) costs. including cost of prosecution and courr cosrs.
